     Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 1 of 23




                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS


In re LANTUS DIRECT PURCHASER          Civil Action No. 16-cv-12652-LTS-JGD
ANTITRUST LITIGATION




   DEFENDANTS’ OPPOSITION TO PURCHASERS’ EMERGENCY MOTION
FOR (1) LEAVE TO RESUME THE DEPOSITION OF STEPHANIE DONAHUE AND
           (2) IN CAMERA REVIEW OF REDACTED DOCUMENTS
            Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 2 of 23




                                                  TABLE OF CONTENTS

                                                                                                                                 Page

I. INTRODUCTION ...................................................................................................................... 1
II. BACKGROUND ....................................................................................................................... 2
          A.         Sanofi Produced Ms. Donahue’s Notes Promptly upon Discovery ....................... 2
          B.         Sanofi Agreed to Make Ms. Donahue Available for Deposition on Her
                     Notes and Offered Twelve Different Dates, but Plaintiffs Delayed ...................... 3
          C.         Plaintiffs Propose a Stipulation with a 48-Hour Fuse............................................ 4
          D.         Plaintiffs Request Consent from Sanofi, but Unilaterally File Their Motion
                     Just Two Hours Later ............................................................................................. 5
III. ARGUMENT ........................................................................................................................... 6
          A.         Allowing Plaintiffs to Reopen Ms. Donahue’s Deposition for Three Hours
                     to Address The Handwritten Notes Is the Only Appropriate Remedy Here.......... 6
          B.         Sanofi Is Allowed to Prepare Ms. Donahue to Testify Again ............................... 7
          C.         Plaintiffs’ Request for In Camera Review Is Unnecessary and a Waste of
                     the Court’s Time and Resources .......................................................................... 11
          D.         Plaintiffs’ Manufactured “Misrepresentations” Do Not Justify Plaintiffs’
                     Additional Requested Relief ................................................................................ 14
IV. CONCLUSION...................................................................................................................... 17




                                                                    -i-
           Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 3 of 23




                                             TABLE OF AUTHORITIES

CASES                                                                                                                    PAGE

Cannon v. Time Warner NY Cable LLC,
   No. 13-CV-02521-RM-MJW, 2015 WL 2194620 (D. Colo. May 7, 2015) ..............................8

Chassen v. Fid. Nat. Title Ins. Co.,
   No. CIV. A. 09-291-ES, 2010 WL 5865977 (D.N.J. July 21, 2010).........................................9

Chesbrough v. Life Care Centers of Am., Inc.,
   No. WOCV201201339A, 2014 WL 861200 (Mass. Super. Ct. Feb. 14, 2014) ........7, 8, 10, 11

Coyote Springs Inv., LLC v. Eighth Jud. Dist. Ct. of State ex rel. Cnty. of Clark,
   131 Nev. 140, 347 P.3d 267 (2015) ...........................................................................................8

Cue, Inc. v. Gen. Motors LLC,
   No. CV 13-12647-IT, 2015 WL 4750844 (D. Mass. Aug. 10, 2015)................................11, 13

Ecker v. Wisconsin Cent. Ltd.,
   No. 07-C-371, 2008 WL 1777222 (E.D. Wis. Apr. 16, 2008) ..................................................8

Few v. Yellowpages.com,
   No. 13 CV. 4107 RA MHD, 2014 WL 3507366 (S.D.N.Y. July 14, 2014) ..............................8

Gavrity v. City of New York,
   No. 12-CV-6004 KAM VMS, 2014 WL 4678027 (E.D.N.Y. Sept. 19, 2014) .........................8

Ginardi v. Frontier Gas Servs., LLC,
   No. 4:11-CV-00420-BRW, 2012 WL 13028126 (E.D. Ark. Jan. 6, 2012) ...............................8

Hall v. Clifton Precision, a Div. of Litton Sys., Inc.,
   150 F.R.D. 525 (E.D. Pa. 1993) .................................................................................................7

Le v. Diligence, Inc.,
    312 F.R.D. 245 (D. Mass. 2015) ................................................................................................6

McKinley Infuser, Inc. v. Zdeb,
  200 F.R.D. 648 (D. Colo. 2001) ................................................................................................7

Murray v. Nationwide Better Health,
  No. 10-3262, 2012 WL 3683397 (C.D. Ill. Aug. 24, 2012) ......................................................8




                                                               -ii-
           Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 4 of 23




Odone v. Croda Int’l PLC.,
   170 F.R.D. 66 (D.D.C. 1997).................................................................................................8, 9

Pain Ctr. of SE Indiana, LLC v. Origin Healthcare Sols. LLC,
   No. 1:13-CV-00133-RLY, 2015 WL 4548528 (S.D. Ind. July 28, 2015) .................................7

Phinney v. Paulshock,
   181 F.R.D. 185 (D.N.H. 1998) ..................................................................................................9

Pia v. Supernova Media, Inc.,
   No. 2:09-CV-840 CW, 2011 WL 6069271 (D. Utah Dec. 6, 2011) ..........................................8

State ex rel. Means v. King,
    205 W. Va. 708, 520 S.E.2d 875 (1999) ....................................................................................8

Wai Feng Trading Co. Ltd v. Quick Fitting, Inc.,
   No. CV 13-33S, 2016 WL 4184014 (D.R.I. June 14, 2016) .....................................................6




                                                              -iii-
          Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 5 of 23




                                             I. INTRODUCTION

         Needless to say, the COVID-19 pandemic changed the way people work, lawyers litigate,

and courts operate, forcing all to adapt to new—and rapidly changing—conditions after the world

shut down in the spring of 2020. Despite the challenges of virtual litigation, the parties worked in

good faith to conduct discovery without significant COVID-related delays, producing hundreds of

thousands of documents electronically, and conducting depositions of nineteen party and third-

party witnesses over platforms that did not exist when this litigation began.

         During the virtual deposition of Stephanie Donahue (one of Sanofi’s in-house patent

lawyers) in February 2022, Ms. Donahue testified that she might have some handwritten notes at

the office or in off-site storage. Between COVID closures and maternity leave, Ms. Donahue had

not worked in the office since the spring of 2020. Once she returned to the office in the spring of

2022, Ms. Donahue located potentially responsive handwritten notes in her files and off-site

storage. Sanofi US 1 produced redacted versions of the responsive notes to Plaintiffs two months

ago, agreed to reopen Ms. Donahue’s deposition for three hours, and identified a dozen dates

between April 28 and June 17 when Ms. Donahue and her counsel would be available. Under the

circumstances, and given the Parties’ prior good-faith efforts to navigate the challenges of virtual

litigation, Sanofi fully expected Plaintiffs would agree to schedule the continuation of Ms.

Donahue’s deposition without resorting to judicial intervention. Instead, over the last eight weeks

Plaintiffs have issued a series of increasingly exorbitant demands based solely on their speculation

about what Ms. Donahue’s notes might mean, or what the text redacted from the notes might say.


   1
     Sanofi-Aventis U.S. LLC (“Sanofi US”) and Sanofi Aventis Puerto Rico, Inc. (“Sanofi PR”) both join in this
Opposition because Plaintiffs’ motion does not differentiate between the two defendants. However, the documents at
issue in this motion, which relate to Orange Book listings and patent infringement litigation, were produced by Sanofi
US. Sanofi PR had no involvement in the Lantus Orange Book listings or patent infringement cases. See Decl. of
John D. Conway in Support of Defendant Sanofi-Aventis Puerto Rico, Inc.’s Motion for Summary Judgment (Doc.
No. 314) ¶¶ 8–9.



                                                         -1-
         Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 6 of 23




In their motion (filed less than two hours after asking for Sanofi’s consent to do so), Plaintiffs have

accused Sanofi and its counsel of making misrepresentations and engaging in unethical conduct.

None of Plaintiffs’ accusations is true, and none of their demands is supported by the facts or the

law.

        Sanofi agreed two months ago to reopen Ms. Donahue’s deposition, and that is the only

relief to which Plaintiffs are entitled. The rest of their demands are wholly unjustified. Plaintiffs’

insistence that the Court bar Sanofi’s counsel from preparing Ms. Donahue for her deposition is

contrary to local practice, not to mention the law in the majority of districts across the United

States. So too, Plaintiffs have provided the Court with nothing beyond empty speculation to

challenge Sanofi’s redactions to Ms. Donahue’s notes. Indeed, Plaintiffs conspicuously omit any

mention of the privilege log entries justifying those redactions, much less identify any deficiencies

in them or inconsistencies with the Court’s orders.

        In the end, Plaintiffs’ “emergency” motion is just another attempt to turn their own

inattentiveness and delay into an unfair tactical advantage. The Court should grant Plaintiffs leave

to reopen Ms. Donahue’s deposition for no more than three hours and for the sole purpose of

examining her about the handwritten notes. The Court should deny Plaintiffs’ request for any

other relief.

                                       II. BACKGROUND

A.      Sanofi Produced Ms. Donahue’s Notes Promptly upon Discovery

        Sanofi’s recent identification and production of 37 pages of Ms. Donahue’s hand-written

notes resulted from an inadvertent oversight in the midst of a global pandemic. Barely a month

after the First Circuit remanded this case for discovery, the world—and Sanofi’s offices—shut

down due to COVID-19. In the midst of navigating the early challenges of remote litigation,

Sanofi “asked all of the current Sanofi employees from whom it collected documents in this


                                                 -2-
          Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 7 of 23




case”—including Ms. Donahue—for “the locations of their responsive . . . hard copy documents.”

Ms. Donahue, who was working at home, did not recall any such documents at the time.2 In her

deposition nearly two years later, on February 16, 2022, Ms. Donahue recalled that she sometimes

took handwritten notes and might have some hard copy documents in the office or off-site storage.

And so Sanofi and Ms. Donahue—who had recently returned to working in the office after Sanofi

reopened its doors—began to search for those materials, ultimately identifying potentially relevant

notes in the office and off-site storage. 3 Sanofi promptly collected and reviewed those documents,

and on April 11, 2022, produced the responsive notes, including all information within the scope

of Sanofi’s privilege waiver as the Court construed it in its December 29, 2021 Order concerning

an earlier motion to compel. (ECF No. 320.)

B.       Sanofi Agreed to Make Ms. Donahue Available for Deposition on Her Notes and
         Offered Twelve Different Dates, but Plaintiffs Delayed

         When Sanofi produced Ms. Donahue’s notes on April 11, it acknowledged that Plaintiffs

would likely want to ask Ms. Donahue about them. And so it agreed to re-open Ms. Donahue’s

deposition and offered nine dates for that purpose. 4 Plaintiffs waited two weeks to respond. 5

Rather than accept one of the nine dates, Plaintiffs raised unfounded complaints regarding Sanofi’s

redactions and asserted that they might need to reopen nine other depositions based solely on Ms.

Donahue’s handwritten notes. 6 Within a week, Sanofi addressed Plaintiffs’ complaints. 7 Sanofi


     2
      Ex. 10, Letter from R. McCalips to A. Margolies (May 24, 2022), p. 4.
     3
      Id. In an apparent effort to detract from the obvious challenges that the COVID-19 pandemic presented to
discovery efforts in this case and others, Plaintiffs make the patently false assertion that “Ms. Donahue was deposed
from her office” and “in the background, the offices were visible open and occupied.” Mem. at 7 n.28. As is obvious
from the cover of her Deposition Transcript (Ex. 20), Ms. Donahue was deposed in Newark, New Jersey at the law
offices of Walsh Pizzi O’Reilly Falanga, counsel for Sanofi in this case, not at Sanofi US’s office in Bridgewater,
New Jersey. This is yet another example of Plaintiffs jumping to conclusions and failing to check the facts before
casting aspersions at Sanofi and its counsel.
    4
      Ex. A, Letter from R. McCalips to T. Scheetz (Apr. 11, 2022), p. 2 (identifying April 29, May 4-6, and the week
of May 16 as potential dates to re-open Ms. Donahue’s deposition).
    5
      Ex. 28, Letter from A. Margolies to R. McCalips (Apr. 28, 2022).
    6
      Id.
    7
      Ex. 29, Letter from R. McCalips to A. Margolies (May 5, 2022).



                                                        -3-
           Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 8 of 23




re-reviewed and modestly adjusted some of its redactions in order to provide date information from

surrounding notes for responsive notes that were undated. Sanofi re-produced the notes and

pressed Plaintiffs again for a date to reopen Ms. Donahue’s deposition. 8

          Plaintiffs responded two weeks later on May 19, just a day before the last of the nine dates

Sanofi originally proposed. 9 Plaintiffs reiterated their complaints about redactions and reissued

their demand for more depositions. Plaintiffs also asked for three hours to take Ms. Donahue’s

deposition, but still did not accept a date. Sanofi responded five days later, addressing Plaintiffs’

purported concerns, agreeing to three hours of time, and offering three additional dates in June for

Ms. Donahue’s deposition. 10 The next day, Plaintiffs stated that they would respond “as quickly

as we can.” 11

          Hearing nothing for two more weeks, Sanofi asked Plaintiffs on Friday, June 3, to confirm

which of the two remaining dates for Ms. Donahue’s deposition they would accept, and advised

Plaintiffs that in the absence of a response, Sanofi would “assume” Plaintiffs no longer “intend[ed]

to proceed with Ms. Donahue’s deposition.” 12 Plaintiffs responded that they would “get back to

[Sanofi] by Monday, but you should never so ‘assume.’” 13

C.        Plaintiffs Propose a Stipulation with a 48-Hour Fuse

          On Monday, June 6, at 6:05 p.m., Plaintiffs responded. Instead of accepting a date for

deposing Ms. Donahue about the handwritten notes, Plaintiffs proposed that Sanofi:

          (1)      stipulate to the admissibility and Plaintiffs’ interpretation of Ms. Donahue’s
notes;




     8
       Id. at p. 2 (“Ms. Donahue remains available for deposition on May 16, 17, or 20.”).
     9
       Ex. 27, Letter from A. Margolies to R. McCalips (May 19, 2022).
     10
        Ex. 10, Letter from R. McCalips to A. Margolies (May 24, 2022), p. 3 (offering June   6, 13, or 17).
     11
        Ex. B, Email from K. LaSalle to R. McCalips (May 26, 2022, 2:40 PM).
     12
        Ex. B, Email from R. McCalips to K. LaSalle (June 3, 2022, 12:52 PM).
     13
       Ex. B, Email from K. Johnson to R. McCalips (June 3, 2022, 1:26 PM).



                                                         -4-
             Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 9 of 23




         (2)   make Ms. Donahue and six other witnesses, including two of Sanofi’s Lilly patent
litigation counsel from Gibson Dunn, available in Plaintiffs’ case in chief at trial or, at a
minimum, for a trial deposition a month before trial; and

        (3)     submit all of Ms. Donahue’s notes to the Court for in camera inspection of
Sanofi’s privilege redactions—even though Plaintiffs had never challenged Sanofi’s privilege log
for those documents or raised any specific complaints regarding those redactions with Sanofi. 14

If Sanofi did not agree within 48 hours, Plaintiffs threatened to “seek relief from the Court.” 15

            Sanofi rejected Plaintiffs’ proposal the next day. 16 In response, Plaintiffs finally agreed to

proceed with Ms. Donahue’s deposition on June 17, the last offered date, 17 but asserted that Sanofi

was not permitted to meet with or otherwise prepare Ms. Donahue for her deposition because

Plaintiffs claimed to have held it open. When Sanofi disagreed and asked Plaintiffs to provide

authority in this Circuit supporting their position, 18 they declined to do so—undoubtedly because

there is none.

D.          Plaintiffs Request Consent from Sanofi, but Unilaterally File Their Motion Just Two
            Hours Later

            Presumably to comply with the Court’s meet and confer requirements, Plaintiffs asked

Sanofi on Wednesday, June 8, for consent to a motion seeking three forms of relief:

                 •   leave from the Court to reopen Ms. Donahue’s deposition;

                 •   an Order preventing Ms. Donahue from meeting with her counsel in advance of
                     the deposition; and

                 •   in camera review of the privilege redactions from Ms. Donahue’s notes. 19

Instead of waiting for Sanofi to respond (or even warning Sanofi that the clock was ticking),

Plaintiffs filed their Emergency Motion two hours later.



     14
          Ex. 30, Draft Stipulation from K. LaSalle to R. McCalips (June 6, 2022, 6:05 PM).
     15
          Id.
     16
          Ex. B, Email from R. McCalips to K. LaSalle (June 7, 2022, 12:07 PM).
     17
          Ex. B, Email from K. LaSalle to R. McCalips (June 7, 2022, 1:24 PM).
     18
          Ex. B, Email from K. LaSalle to R. McCalips (June 8, 2022, 4:09 PM).
     19
          Id.



                                                           -5-
          Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 10 of 23




                                             III. ARGUMENT

A.        Allowing Plaintiffs to Reopen Ms. Donahue’s Deposition for Three Hours to
          Address The Handwritten Notes Is the Only Appropriate Remedy Here

          The one thing Plaintiffs get right in their motion is that reopening Ms. Donahue’s

deposition for three hours to address the handwritten notes (as Sanofi has agreed to do) is an

appropriate—and arguably generous—remedy under the circumstances. “[C]ourts have generally

allowed re-opening a deposition where, as here, new information is unearthed only after the initial

deposition.” Le v. Diligence, Inc., 312 F.R.D. 245, 246 (D. Mass. 2015); see also Wai Feng

Trading Co. Ltd v. Quick Fitting, Inc., No. CV 13-33S, 2016 WL 4184014, at *4 (D.R.I. June 14,

2016) (finding that the late production of documents justifies a renewed deposition, although it

should be limited to exploring the new documents).

          Plaintiffs run off the rails, however, when they claim to have suffered any prejudice that

would entitle them to more than additional deposition time—or that Sanofi has “tacitly admit[ted]”

to any such prejudice by agreeing to reopen Ms. Donahue’s deposition at all. 20 Sanofi agreed to

make Ms. Donahue available two months ago. Sanofi offered Plaintiffs twelve dates between

April and June when they could depose Ms. Donahue. Until last week, when Plaintiffs finally

accepted June 17, Sanofi’s last proposed date, Plaintiffs had taken no action to even schedule the

deposition. The delay underlying Plaintiffs’ “emergency” motion is solely of their own making.

While Sanofi agrees that a modest (3-hour) opportunity to question Ms. Donahue about the

handwritten notes is appropriate, Plaintiffs are not entitled to anything more. 21




     20
       Mem. at 2.
     21
       Plaintiffs’ foot dragging in moving forward with Ms. Donahue’s reopened deposition is all the more troubling
because Plaintiffs also “reserve all rights” to seek to reopen four other depositions and notice two depositions of
entirely new witnesses. Mem. at 7–8 & n.31.



                                                       -6-
          Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 11 of 23




B.        Sanofi Is Allowed to Prepare Ms. Donahue to Testify Again

          Plaintiffs are simply wrong to ask the Court to bar Ms. Donahue from consulting with

counsel about the substance of the handwritten notes, or preparing to testify about them. It is

generally well-accepted that counsel may communicate with witnesses even after a deposition has

commenced, so long as those communications do not involve coaching.                                 See, e.g., In re

Stratosphere Corp. Sec. Litig., 182 F.R.D. 614, 619–21 (D. Nev. 1998). Indeed, in a case where

(as here) there was a long gap between deposition sessions, the court held that “the truth finding

function [of depositions] is adequately protected if deponents are prohibited from conferring with

their counsel while a question is pending,” concluding that “other consultations, during periodic

deposition breaks, luncheon and overnight recesses, and more prolonged recesses ordinarily are

appropriate.” McKinley Infuser, Inc. v. Zdeb, 200 F.R.D. 648, 650 (D. Colo. 2001) (emphasis

added).

          Plaintiffs’ aggressive demand to the contrary reflects the overly harsh, minority approach

adopted in Hall v. Clifton Precision, a Div. of Litton Sys., Inc., 150 F.R.D. 525 (E.D. Pa. 1993).

There, a district court in Pennsylvania held that once a deposition commences, counsel and

deponents may never confer except to decide whether to assert a privilege. This approach has been

heavily criticized by other courts, principally because it impedes counsel’s ability to fulfill her

ethical obligation to provide adequate representation.

          The majority of courts, including at least one court in Massachusetts, have rejected Hall. 22

As a Massachusetts state court stated, “the greater weight and better reasoned authority that has


22
  See Chesbrough v. Life Care Centers of Am., Inc., No. WOCV201201339A, 2014 WL 861200, at *8 (Mass. Super.
Feb. 14, 2014) (“After due consideration of the issue, this Court shares the view that Hall is a bridge too far, imposing
a rule of restriction that intrudes too deeply into the lawyer-client relationship and its vital privilege of
confidentiality.”); In re Stratosphere, 182 F.R.D. at 621 (“While this Court agrees with the Hall court’s goals, it
declines to adopt its strict requirements.”); McKinley, 200 F.R.D. at 650 (rejecting the Hall approach and noting that
“[t]he Hall case has met with substantial, and I believe justified, criticism”); see also Pain Ctr. of SE Indiana, LLC v.
Origin Healthcare Sols. LLC, No. 1:13-CV-00133-RLY, 2015 WL 4548528, at *5 (S.D. Ind. July 28, 2015)



                                                          -7-
         Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 12 of 23




evolved in the area of lawyer-client conferences during depositions has come to reject Hall as an

untenable and impractical interference with the attorney-client privilege and right to counsel.”

Chesbrough v. Life Care Centers of Am., Inc., No. WOCV201201339A, 2014 WL 861200, at *5

(Mass. Super. Ct. Feb. 14, 2014); see also id. at *8 (holding “Hall is a bridge too far, imposing a

rule of restriction that intrudes too deeply into the lawyer-client relationship and its vital privilege

of confidentiality”). Rather, the prevailing rule throughout the country is that an attorney may

confer with a deponent during a natural break so long as a question is not pending and the attorney

does not coach the witness.              Id. at *6–7, 9 (listing cases that have “followed the lead of

Stratosphere in rejecting Hall as a remedy worse than the disease”).

         None of the cases Plaintiffs cite supports the notion that this Court should follow Hall at

all, let alone that it should be the first to adopt the Hall approach in this Circuit. To the contrary,

in Vnuk v. Berwick Hosp. Co., the district court acknowledged that while Hall still “is widely




(“conferring with a deponent during a recess . . . does not interfere with the fact-finding purpose of a deposition”);
Cannon v. Time Warner NY Cable LLC, No. 13-CV-02521-RM-MJW, 2015 WL 2194620, at *1 (D. Colo. May 7,
2015) (“[T]here is no bar on attorney consultation with a client during the client’s deposition, as a general matter − so
long as no question is pending.”); Gavrity v. City of New York, No. 12-CV-6004 KAM VMS, 2014 WL 4678027, at
*2 (E.D.N.Y. Sept. 19, 2014) (“The rules of this Court do not prohibit discussions between counsel and client during
a deposition other than when a question is pending.” (quotation omitted)); Few v. Yellowpages.com, No. 13 CV. 4107
RA MHD, 2014 WL 3507366, at *1 (S.D.N.Y. July 14, 2014) (rejecting Hall’s approach as “[t]he rules of this court
do not limit discussions between counsel and client during a deposition other than when a question is pending”);
Murray v. Nationwide Better Health, No. 10-3262, 2012 WL 3683397, at *5 (C.D. Ill. Aug. 24, 2012) (rejecting the
approach in Hall “[i]n light of the reasoning of Stratosphere and McKinley”); Ginardi v. Frontier Gas Servs., LLC,
No. 4:11-CV-00420-BRW, 2012 WL 13028126, at *2 (E.D. Ark. Jan. 6, 2012) (finding an in-deposition break to find
documents when no question was pending was not sanctionable because “the facts in Hall are different, and Hall fails
to recognize the importance of the attorney-client privilege”); Pia v. Supernova Media, Inc., No. 2:09-CV-840 CW,
2011 WL 6069271, at *3 (D. Utah Dec. 6, 2011) (rejecting Hall’s approach in favor of McKinley’s); Ecker v.
Wisconsin Cent. Ltd., No. 07-C-371, 2008 WL 1777222, at *3 (E.D. Wis. Apr. 16, 2008) (distinguishing Hall and
instead relying on Stratosphere and Odone); Odone v. Croda Int’l PLC., 170 F.R.D. 66, 68 (D.D.C. 1997) (“Hall, a
case that is distinguishable on its facts to the instant action, is instructive, but this District has not adopted nor is it
bound by the litany of deposition restrictions and prohibitions it outlines.”); Coyote Springs Inv., LLC v. Eighth Jud.
Dist. Ct. of State ex rel. Cnty. of Clark, 131 Nev. 140, 148, 347 P.3d 267, 273 (2015) (“We agree with the reasoning
in In re Stratosphere that Hall’s discovery guidelines—which essentially preclude conversations between counsel and
witness at any point between the start of depositions until trial when they involve an issue beyond whether to exercise
a privilege—are unnecessarily restrictive.”); State ex rel. Means v. King, 205 W. Va. 708, 715, 520 S.E.2d 875, 882
(1999) (“With regard to discovery depositions taken in the course of litigation, we believe that the approach taken in
Stratosphere [rather than that taken in Hall] is the more logical and fair approach.”).



                                                            -8-
           Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 13 of 23




accepted among the Pennsylvania district courts,” it has been rejected more broadly. No. 3:14-

CV-01432, 2016 WL 907714, at *3–4 (M.D. Pa. Mar. 2, 2016) (emphasis added). Even then, the

Vnuk court held that Hall was not necessary to condemn the misconduct challenged there—

including whispering to the deponent, showing the deponent notes while a question was pending,

and ending the deposition early. See id. Likewise, in Chassen v. Fid. Nat. Title Ins. Co., No. CIV.

A. 09-291-ES, 2010 WL 5865977, at *1 (D.N.J. July 21, 2010), another Third Circuit case, the

court followed the Hall rule only because it had been adopted by New Jersey federal courts, and

acknowledged that the Hall approach is “not universally followed in all jurisdictions.”

           In Phinney v. Paulshock, 181 F.R.D. 185, 195–96, 205–06 (D.N.H. 1998), a case on which

Plaintiffs rely, a lawyer was accused of obstructing a deposition and coaching a witness he did not

represent. The dispute arose after the witness changed her testimony following a bathroom break.

Id. at 195–96. Both the witness and lawyer testified that the witness remembered something she

did not recall before the break and told the lawyer, who advised her to share the information with

the other side. Id. The court noted that this interaction “marginally implicat[ed]” a pretrial order

“to refrain from coaching objections during depositions” because “any conversation between [the

lawyer] and [witness] during the break could constitute coaching.” Id. at 205 n.47. But the court

did not reflexively apply the Hall approach because there was no proof that the lawyer suggested

or told the witness what to say, id. at 205 n.47 (citing Odone v. Croda Int’l PLC, 170 F.R.D. 66,

68 (D.D.C. 1997)), and did not recognize the blanket rule Plaintiffs would have the Court adopt

here. 23




   23
      In addition to communicating with the witness during the bathroom break, the lawyer “interrupted plaintiffs’
questioning without [the] benefit of ‘objecting’ first at least twelve times,” made at least eleven “speaking
objection[s],” “cautioned the witness not to answer the question several times,” “suggested an answer” several times,
and made more than fifty “ill-founded” objections to the form of the question. Id. at 206.



                                                        -9-
          Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 14 of 23




          Nor do Plaintiffs have any grounds for invoking Hall’s overly restrictive, minority

approach here. Plaintiffs attempt to portray Sanofi’s actions in this case as “gamesmanship,” and

accuse Sanofi’s counsel of lying and coaching Ms. Donahue (and other witnesses) to fabricate a

certain “narrative.” 24 These accusations are as false as they are offensive. And Plaintiffs’

groundless speculation that witness coaching could occur is insufficient to intrude on the attorney-

client relationship. Rather, to do so, examining counsel must have “a good faith basis to believe

that inappropriate witness coaching on matters of substance has occurred,” Chesbrough, 2014 WL

86120, at * 9, such as when “the timing of a requested break or a post-recess change in a witness’s

testimony suggest[s]” witness coaching. Id. at *8. And even then, the recourse is not a blanket

prohibition on conferring with counsel or an order that the attorney-client privilege does not protect

any communications. Rather, the examining counsel must first “make inquiry of the witness into

the circumstances and subject matter” of the communication “and require that any claim of

privilege interposed to justify a refusal to answer be set forth on the record.” Id. at *9.

          Sanofi’s counsel has an ethical obligation to prepare Ms. Donahue for her deposition, and

it must be allowed to do so. Courts “and the Federal Rules of Procedure seek to prevent [] coaching

the witness by telling the witness what to say or how to answer a specific question.” In re

Stratosphere, 182 F.R.D. at 621. However, “[i]t is one thing to preclude attorney-coaching of

witnesses. It is quite another to deny someone the right to counsel.” Id. The break between Ms.

Donahue’s initial deposition in February and reopening it now does not change these fundamental

rules. In re Stratosphere, 182 F.R.D. at 621 (“The right to prepare a witness is not different before

the questions begin than it is during (or after, since a witness may be recalled for rebuttal, etc.,

during trial).”). Granting Plaintiffs’ proposed remedy of barring all communication with or



   24
        Mem. at 10, 12.



                                                 -10-
            Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 15 of 23




preparation of Ms. Donahue is based on wholly unfounded speculation about coaching and finds

no support in the majority rule. Indeed, “[t]aken to its logical extreme, the plaintiffs’ argument

would bar consultation between a party and his lawyer from the time of his deposition through

trial, because there might be ‘coaching’ which would cause a party-witness to alter his testimony

at trial.” McKinley Infuser, 200 F.R.D. at 650. As one court put it, “[t]hat result is absurd.” Id.

Plaintiffs’ request that Ms. Donahue be prohibited from conferring with her counsel in preparation

for her reopened deposition should be denied.

C.          Plaintiffs’ Request for In Camera Review Is Unnecessary and a Waste of the
            Court’s Time and Resources

            Plaintiffs’ demand that Sanofi submit the unredacted version of the handwritten notes to

the Court for in camera review is no more warranted than their demand that the Court prohibit

Sanofi from preparing Ms. Donahue for deposition. As this Court has held, in camera review is

appropriate where there is “reason to question the accuracy of defense counsel’s privilege review

or their commitment to act in good faith.” Cue, Inc. v. Gen. Motors LLC, No. CV 13-12647-IT,

2015 WL 4750844, at *10 (D. Mass. Aug. 10, 2015). Plaintiffs have provided no basis to question

Sanofi as to either.

            To support their demand, Plaintiffs first speculate about the information Sanofi redacted

from Ms. Donahue’s notes—such as the basis for its decisions to list certain patents in FDA’s

Orange Book. 25 But their speculation is flatly contradicted by Sanofi’s privilege log descriptions,

which Plaintiffs entirely fail to address, much less contest. Sanofi has included the six privilege

log entries as Exhibit C hereto. Each entry describes the information that was actually redacted

from Ms. Donahue’s notes, and belies Plaintiffs’ self-serving speculation:

          1. Ex. 8 (SAMA04323341):


     25
          Mem. at 12–13.



                                                  -11-
        Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 16 of 23




                                                                           26




     2. Ex. 25 (SAMA04323342):




     3. Ex. 9 (SAMA04323343):




     4. Ex. 6 (SAMA04323344):




                  27


     5. Ex. 3 (SAMA04323345):




     6. Ex. 1 (SAMA04323317-330):


26
     See, e.g., Ex. D, Plaintiffs’ Deposition Exhibit PX-203 at 41
                       and 51                                         .
     See supra nn. 24 & 25.



                                                       -12-
           Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 17 of 23




                           28




        7. Ex. 7 (SAMA04323349-50):




                  29




    8. Ex. 3 (SAMA04323347):




Having failed to challenge the accuracy of Sanofi’s privilege log entries (or even mention them),

Plaintiffs cannot rely on empty speculation to meet the high burden necessary to support a demand

for in camera review. See Cue, 2015 WL 4750844, at *10 (denying motion to compel submission

of redacted documents for in camera review “[b]ecause there [wa]s no reason to second guess any

of the information set forth in [the] privilege log”).

          Cue likewise forecloses any serious consideration of Plaintiffs’ insinuations that Sanofi has

engaged in bad faith—all of which are manufactured and contradicted by the actual record. In

Cue, the plaintiff asked the Court to conduct an in camera review to “uncover additional evidence”



   28
        Mem. at 12 n.57.
   29
        See, e.g., Dep. Tr. of Stephanie Donahue 48:9-13

                       .



                                                           -13-
             Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 18 of 23




that may have been withheld on privilege grounds, citing only defense counsel’s “inherent bias”

as an advocate to justify the demand. Id. The Court rejected the request for lack of a basis to

question the accuracy of the logged descriptions or counsel’s commitment to act in good faith.

From the very beginning of discovery more than two years ago Sanofi and its counsel have acted

in good faith. When this Court set down the privilege guidelines in its December Order, Sanofi

fully complied. And Sanofi followed those exact same guidelines when reviewing, redacting, and

producing Ms. Donahue’s notes.

            Sanofi is confident that its redactions meet the standards this Court has enunciated

throughout discovery. While Plaintiffs have not met their burden for demanding in camera review

of the challenged documents, and the Court need not undertake the burden of reviewing them as a

result, Sanofi is nonetheless willing to provide the documents to the Court to show its continuing

good faith and compliance with the Court’s orders.

D.          Plaintiffs’ Manufactured “Misrepresentations” Do Not Justify Plaintiffs’ Additional
            Requested Relief

            Remarkably, Plaintiffs assert that this case proceeded based on misrepresentations by

Sanofi and Jones Day. But these alleged “misrepresentations” are entirely manufactured and rest

on unsupported speculation about what might be redacted from Ms. Donahue’s notes.

            First,
                                                                                    30



                                                                                         . 31 And Sanofi



     30
          Mem. at 4.
     31
          See, e.g., Sanofi US’s response to Interrogatory No. 2 (Sept. 13, 2021)




                                                            -14-
         Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 19 of 23




never said that it did not have any documents discussing FDA’s organization of the Lantus Orange

Book listing.



                                        32




                                                 .33

         Second, Plaintiffs once again revive their complaint regarding privileged communications

from litigation counsel regarding the Orange Book, which this Court already addressed in its

December 29, 2021 order on Plaintiffs’ Motion to Compel (ECF No. 320). Sanofi’s position then

was—and is now—that “litigation-focused communications are fundamentally different from

communications with opinion counsel . . . even if they are related to the same topic.” 34 Though

Gibson Dunn was providing litigation advice regarding patents listed in the Orange Book, those

communications were “fundamentally different” from the advice of regulatory counsel and did not

fall within the scope of Sanofi’s waiver. 35 After hearing the Parties’ arguments, the Court ordered

production of communications with Gibson Dunn “to the extent that such communications address

the propriety of listing or maintaining Sanofi’s Lantus patents.” 36 But the Court otherwise denied

Plaintiffs’ motion to compel communications with patent litigation counsel. Sanofi faithfully

obeyed the Court’s order, promptly producing any previously withheld communications with




                                                   .
       See, e.g., Ex. E, SAMA03583603 (                                                                   ).
    33
       Ex. 20, Dep. Tr. of Stephanie Donahue at 75:1-77:8
                                                                  ); Ex. F, Dep. Tr. of David Fox at 83;18-91:16
(
                                                              .
       Doc. No. 302 at 8.
    35
       Id.
    36
       Doc. No. 320 at 12.



                                                       -15-
         Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 20 of 23




Gibson Dunn about the propriety of Sanofi’s Lantus Orange Book listings. 37 And when Sanofi

collected and reviewed Ms. Donahue’s handwritten notes, it did not redact communications with

Gibson Dunn regarding the same subject. 38 But the Court affirmatively declined to order Sanofi

to “produce any documents that pertain solely to advice it received regarding the litigation or

litigation strategy. Its production obligation is limited to advice regarding the propriety of Sanofi’s

Orange Book listings for Lantus patents.” ECF 320 at 12 n.3. Indeed, at oral argument on the

motion to compel, Plaintiffs’ counsel stated that Plaintiffs “have no interest in litigation strategy

with Gibson Dunn about issues other than the propriety of listing patents in the Orange Book.” 39

        Third, Plaintiffs—from the beginning to end of their brief—suggest that Sanofi and Jones

Day are “curating” a story through selective discovery and engaging in a pattern of

misrepresentations. 40 These serious and cynical allegations suggest that Sanofi and its counsel are

ignoring their professional obligations and duty of candor. Plaintiffs’ mudslinging is baseless.

While it is disappointing, it is not altogether surprising, since Plaintiffs have no hope but to kick

up some dust about Sanofi’s Regulatory Compliance Defense as the parties prepare to litigate the

issue on summary judgment.

        Sanofi takes its discovery obligations seriously. Despite the challenges of litigating during

COVID-19 Sanofi has produced hundreds of thousands of documents and made tens of witnesses


   37
       Sanofi explained this to Plaintiffs in its May 24 Letter, but, apparently, Plaintiffs ignored that explanation
entirely and have never conferred with Sanofi regarding this topic. Ex. 10, Letter from R. McCalips to A. Margolies
(May 24, 2022) (citing Letter from R. McCalips to T. Scheetz (Jan. 21, 2022)) (“These productions consist of
communications between Sanofi US and its outside counsel in the Lilly litigation that are within the scope of the
Court’s December 29, 2021 Order . . . .”); see, e.g., SAMA04288004 (
                                                               ); SAMA04287814

                                                    .
       See, e.g., Ex. 8, SAMA04323341.
    39
       Dec. 21, 2021 Hr’g Tr. 37:14-17.
    40
       Mem. at 1 (“Stephanie Donahue’s hand-written notes that appear to undercut Sanofi’s selectively curated story,
contradict witness testimony, and belie counsel’s representations.”); id. at 10 (“Sanofi has already once forced the
purchasers to take depositions with a curated, rather than complete record; it should not now be allowed to compound
that prejudice by crafting a desired narrative behind the scenes.”).



                                                       -16-
        Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 21 of 23




available for deposition. Sanofi did not “curate” or “select” the contents of those documents or

the substance of the witnesses’ testimony. They speak for themselves.

                                       IV. CONCLUSION

       For the foregoing reasons, Sanofi respectfully requests that the Court enter an order

allowing Plaintiffs to reopen Ms. Donahue’s deposition for three hours for the limited purpose of

addressing her handwritten notes, but denying all of Plaintiffs’ other requested relief.




                                                -17-
      Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 22 of 23




Dated: June 13, 2022                  Respectfully submitted,

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        Case 1:16-cv-12652-LTS Document 411 Filed 06/13/22 Page 23 of 23




                                CERTIFICATE OF SERVICE

       I, Rosanna K. McCalips, hereby certify that a true copy of the foregoing document filed
through the ECF system will be electronically sent to the registered participants as identified on
the Notice of Electronic Filing on June 13, 2022.

                                                  /s/ Rosanna K. McCalips
                                                  Rosanna K. McCalips
